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           ELON MUSK SUPPLEMENTAL
           INTERROGATORY RESPONSES
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                   12   KIMBAL MUSK, and LINDA JOHNSON RICE

                   13

                   14                           UNITED STATES DISTRICT COURT

                   15                         NORTHERN DISTRICT OF CALIFORNIA

                   16                               SAN FRANCISCO DIVISION

                   17

                   18   IN RE TESLA, INC. SECURITIES                Case No. 3:18-cv-04865-EMC
                        LITIGATION
                   19                                               ELON R. MUSK’S AMENDED AND
                                                                    SUPPLEMENTAL RESPONSES TO
                   20                                               LEAD PLAINTIFF’S FIRST SET OF
                                                                    INTERROGATORIES
                   21

                   22

                   23

                   24   PROPOUNDING PARTY:       GLEN LITTLETON

                   25   RESPONDING PARTY:        ELON R. MUSK

                   26   SET NUMBER:              ONE

                   27

                   28
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                    1           Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendant Elon R. Musk (“Mr.

                    2   Musk”) responds as follows to Lead Plaintiff Glen Littleton’s (“Plaintiff”) First Set of

                    3   Interrogatories (the “Interrogatories, and each individually, “Interrogatory”) dated February 24,

                    4   2021.

                    5   IV.     GENERAL RESPONSES.
                    6           1.      Mr. Musk reserves all rights to object to the use of any responses herein in any

                    7    subsequent proceeding, including the trial of this or any action. To the extent Mr. Musk responds

                    8    to these Interrogatories, he does not concede that the information requested is either relevant to

                    9    any party’s claim or defense or proportional to the needs of the case. Mr. Musk preserves all

                   10    objections as to competency, relevancy, authenticity, materiality, privilege and admissibility. Mr.

                   11    Musk expressly reserves the right to object to further discovery into the subject matter of any of

                   12    these interrogatories.

                   13           2.      Mr. Musk’s response to Plaintiff’s Interrogatories is made to the best of Mr. Musk’s

                   14    present knowledge, information, and belief. Said response is at all times subject to such additional

                   15    or different information that discovery or further investigation may disclose and, while based on

                   16    the present state of Mr. Musk’s recollection, is subject to such refreshing of recollection, and such

                   17    additional knowledge of facts, as may result from Mr. Musk’s further discovery or investigation.

                   18           3.      Mr. Musk reserves the right to make any use of, or to introduce at any hearing and

                   19    at trial, information and/or documents responsive to Plaintiff’s Interrogatories but discovered

                   20    subsequent to the date of this response, including, but not limited to, any such information or

                   21    documents obtained in discovery herein.

                   22           4.      To the extent that Mr. Musk responds to Plaintiff’s Interrogatories by stating that

                   23    Mr. Musk will provide information and/or documents that Mr. Musk or any other party to this

                   24    litigation deems to embody material that is private, business confidential, proprietary, trade secret,

                   25    or otherwise protected from disclosure pursuant to Federal Rule of Civil Procedure 26(c)(1)(G),

                   26    Federal Rule of Evidence 501, or other applicable laws, Mr. Musk will provide such information,

                   27    if any, only in accordance with the protective order entered by the Court on May 20, 2020

                   28    (“Protective Order”) (Dkt. 255) governing the disclosure and use of such information.
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                    1            5.      Mr. Musk is willing to meet and confer with Plaintiff regarding any objection

                    2    and/or response herein.

                    3   V.      GENERAL OBJECTIONS.
                    4           Mr. Musk makes the following general objections, whether or not separately set forth in

                    5   response to each Interrogatory, to each Instruction, Definition, and Interrogatory made in Plaintiff’s

                    6   First Set of Interrogatories:

                    7            1.      Mr. Musk objects to all Instructions, Definitions, and Interrogatories to the extent

                    8    that they improperly attempt to expand, alter, or modify the scope of permissible discovery under,

                    9    or impose a duty or obligation that is inconsistent with, in excess of, or not authorized by, the

                   10    Federal Rules of Civil Procedure (“FRCP”), the Local Rules of the U.S. District Court for the

                   11    Northern District of California (the “Local Rules”), or any other applicable law. In responding to

                   12    these Interrogatories, Mr. Musk shall follow the FRCP, the Local Rules, and any orders entered

                   13    by the Court rather than any of Plaintiff’s instructions and requirements that go beyond or

                   14    contradict those legal requirements.

                   15            2.      Mr. Musk objects to each and every Interrogatory to the extent that such

                   16    Interrogatory seeks information that is not relevant to the claims or defenses of any party or is not

                   17    proportional to the needs of the case, considering the importance of the issues at stake in the action,

                   18    the amount in controversy, the parties’ relative access to relevant information, the parties’

                   19    resources, the importance of the discovery in resolving the issues, and whether the burden or

                   20    expense of the proposed discovery outweighs its likely benefit.

                   21            3.      Mr. Musk objects to each and every Interrogatory to the extent that such

                   22    Interrogatory seeks documents or information already in the possession of Plaintiff, equally

                   23    accessible to Plaintiff, or available to Plaintiff through public sources or records, on the ground

                   24    that it subjects Mr. Musk to unreasonable and undue burden and expense.

                   25            4.      Mr. Musk objects to all Instructions, Definitions, and Interrogatories insofar as each

                   26    such Instruction, Definition, or Interrogatory seeks information or production of documents

                   27    protected by the attorney-client privilege, the work product doctrine, or any other privilege,

                   28    immunity, or doctrine recognized by any and all federal or state rules or laws, or otherwise not
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                    1    subject to discovery under the FRCP. Such documents or information shall not be provided in

                    2    response to the Interrogatories and any inadvertent disclosure or production thereof shall not be

                    3    deemed a waiver of any privilege with respect to such documents or information, or of any work

                    4    product immunity which may attach thereto.

                    5           5.      Mr. Musk objects to all Instructions, Definitions, and Interrogatories to the extent

                    6    they seek information protected from discovery by any right to privacy or any other applicable

                    7    privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s obligations

                    8    under applicable law or contract to protect such confidential information, including as set forth in

                    9    confidentiality and/or non-disclosure agreements or understandings with third parties. Mr. Musk

                   10    will provide such information, if any, only in accordance with the Protective Order.

                   11           6.      Mr. Musk objects to all Instructions, Definitions, and Interrogatories to the extent

                   12    they seek information or documents not currently in Mr. Musk’s possession, custody, or control,

                   13    seek to require Mr. Musk to search for information or documents no longer in existence or in Mr.

                   14    Musk’s possession, custody, or control, or refer to persons, entities, or events not known or

                   15    controlled by Mr. Musk, which would subject Mr. Musk to unreasonable and undue annoyance,

                   16    oppression, burden, and expense.

                   17           7.      Mr. Musk objects to each and every Interrogatory to the extent it calls for a legal

                   18    conclusion and/or purports to require Mr. Musk to make ultimate factual determinations without

                   19    benefit of full discovery, investigation, and evaluation.

                   20           8.      Mr. Musk objects to each and every Interrogatory to the extent it is duplicative of

                   21    or redundant with other Interrogatories herein, or other requests for information made by Plaintiff,

                   22    including via other discovery methods authorized under the FRCP (e.g., Requests for Production),

                   23    on the grounds that such Interrogatory would unreasonably subject Mr. Musk to undue annoyance,

                   24    oppression, burden, and expense.

                   25   VI.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS.
                   26           1.      Mr. Musk objects to Instruction No. 1 to the extent it seeks to require Mr. Musk to

                   27    supplement his Interrogatory responses, in the event Mr. Musk obtains additional information that

                   28    would change or modify one or more of Mr. Musk’s previous Interrogatory responses on an
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                    1    accelerated timeline or is otherwise in excess of any obligation imposed by law, including the

                    2    requirements of the FRCP and the Local Rules. Mr. Musk further objects to Instruction No. 1 on

                    3    the grounds that it seeks to require Mr. Musk to serve supplemental and/or amended responses

                    4    upon “Defendants.”

                    5           2.      Mr. Musk objects to the Definition of “Account” or “Accounts” as vague,

                    6    ambiguous, and overbroad, and to the extent that it contradicts or conflicts with the Definition of

                    7    “Service Provider” or “Service Providers.” Subject to these objections, Mr. Musk will interpret

                    8    these words in accordance with their ordinary meanings.

                    9           3.      Mr. Musk objects to the Definition of “Communication” and “Communications”

                   10    to the extent that the reference to “any disclosure, transfer or exchange of information or opinion

                   11    in whatever form . . . and by any means of transmission or receipt” in the Definition is overbroad,

                   12    unduly burdensome, and seeking information protected by a privacy interest.

                   13           4.      Mr. Musk objects to the Definition of “Concerning” as vague and ambiguous, and

                   14    to the extent that it attempts to define this word beyond its ordinary meaning. Mr. Musk further

                   15    objects to the Definition of “Concerning” to the extent it contradicts or conflicts with the

                   16    Definitions of “related to,” “relating to,” “in relation to,” “regarding,” and “concerning.” Subject

                   17    to these objections, Mr. Musk will interpret this word in accordance with its ordinary meaning.

                   18           5.      Mr. Musk objects to the definition of “Device” or “Devices” as vague, ambiguous,

                   19    overbroad, and unduly burdensome, and seeking information not relevant to the claims or defenses

                   20    of any party to the extent that it seeks “any piece of electronic equipment that has or had the ability

                   21    to transfer data or Documents by connecting to the Internet via Wi-Fi, satellite, or any

                   22    telecommunications network,” including those that “you . . . lease, leased, received on a loan, were

                   23    loaned, have or had in your possession, or were provided by or received from any person, entity,

                   24    or Tesla,” and including “smart devices . . . , smart televisions, and onboard electronics integrated

                   25    into motor vehicles.” Subject to these objections, Mr. Musk will interpret these words in

                   26    accordance with their ordinary meanings.

                   27           6.      Mr. Musk objects to the definition of “Document” or “Documents” to the extent

                   28    that such definition renders any Interrogatory overly broad and unduly burdensome by requiring
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                    1    reference to Documents including “any record created thereby, regardless of the manner in which

                    2    the record has been stored,” and as such purports to require, for example, restoration of documents

                    3    or data that are not retained in the ordinary course of business and that reside exclusively on extant

                    4    backup tapes of electronic media and the recovery of documents or data that have been deleted or

                    5    are fragmented, among other things. Mr. Musk further objects to the extent that the Definition of

                    6    “Document or Documents” includes “Electronically Stored Information and Hard Copy

                    7    Documents,” which terms are not defined in the Interrogatories.

                    8            7.      Mr. Musk objects to the Definition of “Goldman Sachs” as overbroad and unduly

                    9    burdensome to the extent that the Interrogatories seek information from inaccessible or unknown

                   10    parties and to the extent that they seek information that is not reasonably known to or obtainable

                   11    by Mr. Musk. Mr. Musk further objects to the Definition of “Goldman Sachs” as vague and

                   12    ambiguous and because it calls for legal conclusions with respect to the terms “predecessors,”

                   13    “successors,” “divisions,” “affiliates,” “agents,” and “any other Person or entity acting on its

                   14    behalf.” Mr. Musk further objects to the Definition of “Goldman Sachs” to the extent it purports

                   15    to encompass information that is protected by the attorney-client privilege, the attorney work-

                   16    product doctrine, and/or any other lawfully recognized privilege, protection, or immunity from

                   17    disclosure; and/or to the extent that it purports to impose obligations greater than those set forth in

                   18    the FRCP. Subject to these objections, Mr. Musk will interpret the term “Goldman Sachs” as

                   19    referring to Goldman Sachs Group, Inc. and any of its employees, officers, or directors acting in

                   20    their official capacities.

                   21            8.      Mr. Musk objects to the Definition of “Identify” or “Identification,” and to all

                   22    Interrogatories containing those terms, as overbroad, vague, ambiguous, and unduly burdensome,

                   23    and to the extent that the Interrogatories seek information from inaccessible or unknown parties,

                   24    seek information that is not reasonably known to or obtainable by Mr. Musk, and would impose

                   25    upon Mr. Musk an obligation in excess of what is called for by the FRCP. Mr. Musk further

                   26    objects to the Definition of “Identify” or “Identification” to the extent that the term “document”

                   27    contained in the subparts therein is undefined, vague, and ambiguous, and to the extent that it

                   28    contradicts or conflicts with the Definition of the term “Document” or “Documents.” Subject to
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                    1    these objections, Mr. Musk will interpret the term “document” in accordance with its ordinary

                    2    meaning. Mr. Musk also objects to the Definition of “Identify” or “Identification” to the extent

                    3    that it is circular because it uses the terms “identity,” “identify(ing)” and “identification.” Subject

                    4    to these objections, Mr. Musk will interpret the terms “Identify” and “Identification” in accordance

                    5    with their ordinary meanings.

                    6           9.      Mr. Musk objects to the Definition of “Identify” or “Identification” when used with

                    7    respect to a person or entity as overbroad, unduly burdensome, and seeking information not

                    8    relevant to the claims or defenses of any party to the extent that it seeks the last known address

                    9    and present or last known place of employment for any natural person and the principal place of

                   10    business for any entity.

                   11           10.     Mr. Musk objects to the Definition of “Identify” or “Identification” when used with

                   12    respect to the term “Communication” or “Communications” as overbroad, unduly burdensome,

                   13    and seeking information not relevant to the claims or defenses of any party to the extent that it

                   14    seeks the type of Communication; the identification of each person who made, received, or was

                   15    present when the Communication or Communications were made; the phone number, email, or

                   16    user/handle name of each person who made, received, or was present when the Communication

                   17    or Communications were made, where the Communication or Communications were not

                   18    conducted in person; the location of each person who made, received, or was present when the

                   19    Communication or Communications took place; and the subject matter discussed to the extent that

                   20    subject matter is not relevant to the claims or defenses of any party.

                   21           11.     Mr. Musk objects to the Definition of “Identify” or “Identification” when used with

                   22    respect to the term “Account” or “Accounts” as overbroad, unduly burdensome, and seeking

                   23    information not relevant to the claims or defenses of any party to the extent that it seeks

                   24    information related to Accounts associated with any Device or Devices containing information or

                   25    used for communications not related to this case and the address of the business or person

                   26    providing or maintaining the account.

                   27           12.     Mr. Musk objects to the Definition of “Identify” or “Identification” when used with

                   28    respect to the term “Device” or “Devices” as overbroad, unduly burdensome, seeking information
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                    1    protected by a privacy interest and seeking information not relevant to the claims or defenses of

                    2    any party to the extent that it seeks information relating to Devices containing information or used

                    3    for communications not related to this case, and to the extent it seeks each Device’s make, model

                    4    number, and serial number; International Mobile Equipment Identity Number and/or Electronic

                    5    Serial Number; and Internet Protocol address.

                    6            13.     Mr. Musk objects to the Definition of “Identify” or “Identification” when used with

                    7    respect to the assertion of a claim of privilege or other immunity from discovery as overbroad,

                    8    unduly burdensome, and seeking information not relevant to the claims or defenses of any party

                    9    to the extent that such Definition seeks to impose obligations on Mr. Musk different from or greater

                   10    than those imposed by the FRCP 26(b)(5) and other applicable laws. Mr. Musk further objects to

                   11    the Definition of “Identify” or “Identification” when used with respect to the assertion of a claim

                   12    of privilege or other immunity from discovery as overbroad, unduly burdensome, and seeking

                   13    information not relevant to the claims or defenses of any party to the extent that it seeks each

                   14    document’s type, title, all subject matter contained within it, title, and number of pages; the identity

                   15    of each person who participated in its preparation; the identity of each person who signed or sent

                   16    the document; the identity of each person to whom the document or information was addressed,

                   17    copied, or sent; and the identity of each person who received the document or information.

                   18            14.     Mr. Musk objects to the Definition of “Morgan Stanley” as overbroad and unduly

                   19    burdensome to the extent that the Interrogatories seek information from inaccessible or unknown

                   20    parties and to the extent that they seek information that is not reasonably known to or obtainable

                   21    by Mr. Musk. Mr. Musk further objects to the Definition of “Morgan Stanley” as vague and

                   22    ambiguous and because it calls for legal conclusions with respect to the terms “predecessors,”

                   23    “successors,” “divisions,” “affiliates,” “agents,” and “any other Person or entity acting on its

                   24    behalf.” Mr. Musk further objects to the Definition of “Morgan Stanley” to the extent it purports

                   25    to encompass information that is protected by the attorney-client privilege, the attorney work-

                   26    product doctrine, and/or any other lawfully recognized privilege, protection, or immunity from

                   27    disclosure; and/or to the extent that it purports to impose obligations greater than those set forth in

                   28    the FRCP. Subject to these objections, Mr. Musk will interpret the term “Morgan Stanley” as
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                    1    referring to Morgan Stanley and any of its employees, officers, or directors acting in their official

                    2    capacities.

                    3           15.     Mr. Musk objects to the Definition of “Munger Tolles” as overbroad and unduly

                    4    burdensome to the extent that the Interrogatories seek information from inaccessible or unknown

                    5    parties and to the extent that they seek information that is not reasonably known to or obtainable

                    6    by Mr. Musk. Mr. Musk further objects to the Definition of “Munger Tolles” as vague and

                    7    ambiguous and because it calls for legal conclusions with respect to the terms “predecessors,”

                    8    “successors,” “divisions,” “affiliates,” “agents,” and “any other Person or entity acting on its

                    9    behalf.” Mr. Musk further objects to the definition of “Munger Tolles” to the extent it purports to

                   10    encompass information that is protected by the attorney-client privilege, the attorney work-product

                   11    doctrine, and/or any other lawfully recognized privilege, protection, or immunity from disclosure;

                   12    and/or to the extent that it purports to impose obligations greater than those set forth in the FRCP.

                   13    Subject to these objections, Mr. Musk will interpret the term “Munger Tolles” as referring to

                   14    Munger, Tolles & Olson LLP and any of its employees, officers, or directors acting in their official

                   15    capacities.

                   16           16.     Mr. Musk objects to the Definition of “Public Investment Fund” or

                   17    “PIF” as overbroad and unduly burdensome to the extent that the Interrogatories seek information

                   18    from inaccessible or unknown parties and to the extent that they seek information that is not

                   19    reasonably known to or obtainable by Mr. Musk. Mr. Musk further objects to the Definition of

                   20    “Public Investment Fund” of “PIF” as vague and ambiguous and because it calls for legal

                   21    conclusions with respect to the terms “predecessors,” “successors,” “divisions,” “affiliates,”

                   22    “agents,” and “any other Person or entity acting on its behalf.” Mr. Musk further objects to the

                   23    Definition of “Public Investment Fund” of “PIF” to the extent it purports to encompass information

                   24    that is protected by the attorney-client privilege, the attorney work-product doctrine, and/or any

                   25    other lawfully recognized privilege, protection, or immunity from disclosure; and/or to the extent

                   26    that it purports to impose obligations greater than those set forth in the FRCP. Subject to these

                   27    objections, Mr. Musk will interpret the terms “Public Investment Fund” and “PIF” as referring to

                   28    the Public Investment Fund of Saudi Arabia and any of its employees, officers, or directors acting
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                    1    in their official capacities.

                    2            17.     Mr. Musk objects to the Definition of “Person” as vague and ambiguous and to the

                    3    extent that it attempts to define words beyond their ordinary meaning. Subject to these objections,

                    4    Mr. Musk will interpret this word in accordance with its ordinary meaning.

                    5            18.     Mr. Musk objects to the Definition of “Service Provider” or “Service Providers” as

                    6    vague, ambiguous, overbroad, and to the extent that it contradicts or conflicts with the Definition

                    7    of “Account” or “Accounts.” Subject to these objections, Mr. Musk will interpret these words in

                    8    accordance with their ordinary meanings.

                    9            19.     Mr. Musk objects to the Definition of “Silver Lake” as overbroad and unduly

                   10    burdensome to the extent that the Interrogatories seek information from inaccessible or unknown

                   11    parties and to the extent that they seek information that is not reasonably known or obtainable by

                   12    Mr. Musk. Mr. Musk further objects to the Definition of “Silver Lake” as vague and ambiguous

                   13    and because it calls for legal conclusions with respect to the terms “predecessors,” “successors,”

                   14    “divisions,” “affiliates,” “agents,” and “any other Person or entity acting on its behalf.” Mr. Musk

                   15    further objects to the Definition of “Silver Lake” to the extent it purports to encompass information

                   16    that is protected by the attorney-client privilege, the attorney work-product doctrine, and/or any

                   17    other lawfully recognized privilege, protection, or immunity from disclosure; and/or to the extent

                   18    that it purports to impose obligations greater than those set forth in the FRCP. Subject to these

                   19    objections, Mr. Musk will interpret the term “Silver Lake” as referring to Silver Lake

                   20    Management, L.L.C. and any of its employees, officers, or directors acting in their official

                   21    capacities.

                   22            20.     Mr. Musk objects to the Definition of “Tesla” as overbroad and unduly burdensome

                   23    to the extent that the Interrogatories seek information from inaccessible or unknown parties and to

                   24    the extent that they seek information that is not reasonably known or obtainable by Mr. Musk. Mr.

                   25    Musk further objects to the Definition of “Tesla” as vague and ambiguous and because it calls for

                   26    legal conclusions with respect to the terms “predecessors,” “successors,” “divisions,” “affiliates,”

                   27    “agents,” and “any other Person or entity acting on its behalf.” Mr. Musk further objects to the

                   28    Definition of “Tesla” to the extent it purports to encompass information that is protected by the
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                    1    attorney-client privilege, the attorney work-product doctrine, and/or any other lawfully recognized

                    2    privilege, protection, or immunity from disclosure; and/or to the extent that it purports to impose

                    3    obligations greater than those set forth in the FRCP. Subject to these objections, Mr. Musk will

                    4    interpret the term “Tesla” as referring to Tesla, Inc. and any of its employees, officers, or directors

                    5    acting in their official capacities.

                    6            21.     Mr. Musk objects to the Definition of “Wachtell” as overbroad and unduly

                    7    burdensome to the extent that the Interrogatories seek information from inaccessible or unknown

                    8    parties and to the extent that they seek information that is not reasonably known or obtainable by

                    9    Mr. Musk. Mr. Musk further objects to the Definition of “Wachtell” as vague and ambiguous and

                   10    because it calls for legal conclusions with respect to the terms “predecessors,” “successors,”

                   11    “divisions,” “affiliates,” “agents,” and “any other Person or entity acting on its behalf.” Mr. Musk

                   12    further objects to the Definition of “Wachtell” to the extent it purports to encompass information

                   13    that is protected by the attorney-client privilege, the attorney work-product doctrine, and/or any

                   14    other lawfully recognized privilege, protection, or immunity from disclosure; and/or to the extent

                   15    that it purports to impose obligations greater than those set forth in the FRCP. Subject to these

                   16    objections, Mr. Musk will interpret the term “Wachtell” as referring to Wachtell, Lipton, Rosen &

                   17    Katz and any of its employees, officers, or directors acting in their official capacities.

                   18            22.     Mr. Musk objects to the Definition of “related to,” “relating to,” “in relation to,”

                   19    “regarding,” and “concerning” as vague and ambiguous, to the extent that it attempts to define

                   20    words beyond their ordinary meaning, and to the extent it contradicts or conflicts with the

                   21    Definition of “Concerning.” Subject to these objections, Mr. Musk will interpret these words in

                   22    accordance with their ordinary meanings.

                   23   VII.    SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES.
                   24           Without waiving or limiting in any manner any of the foregoing General Responses and

                   25   Objections and Objections to Instructions and Definitions, but rather incorporating them into each

                   26   of the following responses to the extent applicable, Mr. Musk responds to the specific

                   27   Interrogatories as follows:

                   28
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ATTORNEYS AT LAW                                                             MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   INTERROGATORY NO. 1:

                    2          Identify any Account or Accounts with a Service Provider or Service Providers associated

                    3   with any Devices used by Elon Musk during July 1, 2018 through August 24, 2018, inclusive.

                    4   RESPONSE TO INTERROGATORY NO. 1:

                    5          In addition to the foregoing General Objections and Objections to Instructions and

                    6   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory on

                    7   the grounds that it is overbroad and unduly burdensome and seeks information that is not relevant

                    8   to the claims or defenses of any party and not proportional to the needs of the case insofar as none

                    9   of Plaintiff’s allegations relate to any of Mr. Musk’s Account(s) with any Service Provider(s).

                   10          Mr. Musk also objects to this Interrogatory to the extent that it seeks information protected

                   11   from discovery by any right to privacy or any other applicable privilege or protection, including

                   12   the right to privacy of third parties, or by Mr. Musk’s obligations under applicable law or contract

                   13   to protect such confidential information, including as set forth in confidentiality and/or non-

                   14   disclosure agreements or understandings with third parties.          Mr. Musk will provide such

                   15   information, if any, only in accordance with the Protective Order.

                   16          Mr. Musk further objects that as defined herein, the terms “Account” and “Service

                   17   Provider” are vague, ambiguous, and overbroad and objects to the extent that their Definitions

                   18   contradict or conflict with one another. Mr. Musk also objects that as defined herein the term

                   19   “Devices” is vague, ambiguous, overbroad, and unduly burdensome, and seeking information not

                   20   relevant to the claims or defenses of any party to the extent that it seeks “any piece of electronic

                   21   equipment that has or had the ability to transfer data or Documents by connecting to the Internet

                   22   via Wi-Fi, satellite, or any telecommunications network,” including those that “you . . . lease,

                   23   leased, received on a loan, were loaned, have or had in your possession, or were provided by or

                   24   received from any person, entity, or Tesla,” and including “smart devices . . . , smart televisions,

                   25   and onboard electronics integrated into motor vehicles.” For the purpose of this Interrogatory, Mr.

                   26   Musk will interpret these words in accordance with their ordinary meanings.

                   27          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   28          Mr. Musk refers Plaintiff to the following document for information regarding an Account
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                    1   held by Mr. Musk: SEC-EPROD-000009602.

                    2          Mr. Musk’s use of mobile phones was discussed in his testimony to the U.S. Securities and

                    3   Exchange Commission (“SEC”).1 (See, e.g., Musk Tr. SEC-EPROD-000016128-16132.)

                    4          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                    5   response should he learn any additional information responsive to the Interrogatory.

                    6   INTERROGATORY NO. 2:

                    7          Identify all funding that was secured as of 12:48 P.M. EST on August 7, 2018 to take Tesla

                    8   private at $420 per share.

                    9   RESPONSE TO INTERROGATORY NO. 2:

                   10          In addition to the foregoing General Objections and Objections to Instructions and

                   11   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory on

                   12   the grounds that it is a premature contention interrogatory.         Mr. Musk also objects to this

                   13   Interrogatory to the extent that it seeks information protected from discovery by any right to privacy

                   14   or any other applicable privilege or protection, including the right to privacy of third parties, or by

                   15   Mr. Musk’s obligations under applicable law or contract to protect such confidential information,

                   16   including as set forth in confidentiality and/or non-disclosure agreements or understandings with

                   17   third parties. Mr. Musk will provide such information, if any, only in accordance with the

                   18   Protective Order.

                   19          Mr. Musk also objects that the word “secured” is undefined and susceptible to multiple

                   20   varied interpretations. Mr. Musk further objects to this Interrogatory to the extent that it seeks

                   21   information protected by the attorney-client privilege, work product doctrine, common interest

                   22   privilege, or common law privilege, doctrine, immunity, rule of confidentiality, or protection from

                   23   disclosure that may attach to the information requested.

                   24          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   25          At the July 31, 2018 meeting at Tesla’s Fremont factory attended by Yasir Al-Rumayyan,

                   26   Saad Al-Jarboa, and Naif Al-Mogren from the Public Investment Fund of Saudi Arabia (“PIF”) and

                   27
                        1
                   28    All “Tr.” cites are to testimony taken by the SEC in August and September 2018, which transcripts
COOLEY LLP
                        have been produced to Plaintiff.
ATTORNEYS AT LAW                                                            MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   Mr.    Musk,      Sam     Teller,    and     Deepak       Ahuja    from     Tesla      (see,   e.g.,

                    2   TESLA_LITTLETON_00005289), Mr. Musk received an oral commitment from Mr. Al-

                    3   Rumayyan to fund the contemplated going-private transaction, as Mr. Musk and multiple other

                    4   participants in that meeting confirmed in their testimony to the SEC (see, e.g., Musk Tr. SEC-

                    5   EPROD-000016253-55; Teller Tr. SEC-EPROD-000017399-402; Ahuja Tr. SEC-EPROD-

                    6   000014461-65). Mr. Musk was referring to this oral commitment from the PIF when he used the

                    7   phrase “funding secured” at 12:48 P.M. EST on August 7, 2018. See, e.g., Musk Tr. SEC-EPROD-

                    8   000016333. At that time Mr. Musk also “had other funding sources in mind” but “felt . . . [he] was

                    9   subscribed based on the PIF desire to take Tesla private alone.” See, e.g., Musk Tr. SEC-EPROD-

                   10   000016334. Those other sources of funding included “Google or Alphabet,” SpaceX, and the

                   11   “UA[E] fund.” See, e.g., Musk Tr. SEC-EPROD-000016334-39.

                   12          Mr. Musk further responds that, as Mr. Musk explained in his blog post “Update on Taking

                   13   Tesla Private,” published on Tesla’s website on August 13, 2018:

                   14          Going back almost two years, the Saudi Arabian sovereign wealth fund has
                               approached me multiple times about taking Tesla private. . . . Recently, after the
                   15
                               Saudi fund bought almost 5% of Tesla stock through the public markets, they
                   16          reached out to ask for another meeting. That meeting took place on July 31st.
                               During the meeting, the Managing Director of the fund expressed regret that I had
                   17          not moved forward previously on a going private transaction with them, and he
                               strongly expressed his support for funding a going private transaction for Tesla at
                   18          this time. I understood from him that no other decision makers were needed and
                   19          that they were eager to proceed. I left the July 31st meeting with no question that a
                               deal with the Saudi sovereign fund could be closed, and that it was just a matter of
                   20          getting the process moving. This is why I referred to “funding secured” in the
                               August 7th announcement.
                   21

                   22   Elon Musk, Update on Taking Tesla Private, Tesla (Aug. 13, 2018)

                   23   https://www.tesla.com/blog/update-taking-tesla-private.

                   24          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                   25   response should he learn any additional information responsive to the Interrogatory.

                   26   INTERROGATORY NO. 3:

                   27          Identify every source of funding that was legally committed for a going private transaction

                   28   of Tesla and when such funding became legally committed.
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                    1   RESPONSE TO INTERROGATORY NO. 3:

                    2          In addition to the foregoing General Objections and Objections to Instructions and

                    3   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory on

                    4   the grounds that it is a premature contention interrogatory.         Mr. Musk also objects to this

                    5   Interrogatory to the extent that it seeks information protected from discovery by any right to privacy

                    6   or any other applicable privilege or protection, including the right to privacy of third parties, or by

                    7   Mr. Musk’s obligations under applicable law or contract to protect such confidential information,

                    8   including as set forth in confidentiality and/or non-disclosure agreements or understandings with

                    9   third parties. Mr. Musk will provide such information, if any, only in accordance with the

                   10   Protective Order.

                   11          Mr. Musk further objects that the term “legally committed” is undefined, vague, and

                   12   ambiguous in the context of this Interrogatory. Mr. Musk further objects to the term “legally

                   13   committed” as undefined, vague, and ambiguous on the grounds that it calls for a legal conclusion

                   14   and also because the Interrogatory does not specify which nation’s legal system is contemplated.

                   15          Mr. Musk further objects on the grounds that the phrase “source of funding” is undefined,

                   16   vague, ambiguous, and overbroad in the context of this Interrogatory.

                   17          Mr. Musk also objects that the phrase “a going private transaction of Tesla” is vague,

                   18   ambiguous, and overbroad. Mr. Musk further objects that this Interrogatory is overbroad and

                   19   unduly burdensome and seeks information that is not relevant to the claims or defenses of any party

                   20   and not proportional to the needs of the case, to the extent that it seeks information relating to any

                   21   funding committed for any going private transaction contemplated at any time. For the purpose of

                   22   this Interrogatory, Mr. Musk will interpret the phrase “a going private transaction of Tesla” to refer

                   23   to the contemplated going private transaction that was the subject of the proposal Mr. Musk sent

                   24   by email to Tesla’s Board of Directors on August 2, 2018.

                   25          Mr. Musk further objects that this Interrogatory is overbroad and unduly burdensome and

                   26   seeks information that is not relevant to the claims or defenses of any party and not proportional to

                   27   the needs of the case because no Defendant is alleged to have stated that funding was “legally

                   28   committed” for any “going private transaction” and/or the contemplated going private transaction.
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                    1             Mr. Musk also objects on the grounds that the Interrogatory is overbroad and unduly

                    2   burdensome and seeks information that is not relevant to the claims or defenses of any party and

                    3   not proportional to the needs of the case because it does not define any relevant time period.

                    4             Mr. Musk also objects that as defined herein, the term “Identify” when used with respect to

                    5   a person or entity is overbroad, unduly burdensome, and seeking information not relevant to the

                    6   claims or defenses of any party to the extent that it seeks the last known address and present or last

                    7   known place of employment for any natural person and the principal place of business for any

                    8   entity.

                    9             Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                   10   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                   11   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                   12   that may attach to the information requested.

                   13             Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   14             At the July 31, 2018 meeting at Tesla’s Fremont factory attended by Yasir Al-Rumayyan,

                   15   Saad Al-Jarboa, and Naif Al-Mogren from the PIF and Mr. Musk, Sam Teller, and Deepak Ahuja

                   16   from Tesla (see, e.g., TESLA_LITTLETON_00005289), Mr. Musk received an oral commitment

                   17   from Mr. Al-Rumayyan to fund the contemplated going-private transaction, as Mr. Musk and

                   18   multiple other participants in that meeting confirmed in their testimony to the SEC (see, e.g., Musk

                   19   Tr. SEC-EPROD-000016253-55; Teller Tr. SEC-EPROD-000017399-402; Ahuja Tr. SEC-

                   20   EPROD-000014461-65).

                   21             Mr. Musk further responds that, as Mr. Musk explained in his blog post “Update on Taking

                   22   Tesla Private,” published on Tesla’s website on August 13, 2018:

                   23             Going back almost two years, the Saudi Arabian sovereign wealth fund has
                                  approached me multiple times about taking Tesla private. . . . Recently, after the
                   24
                                  Saudi fund bought almost 5% of Tesla stock through the public markets, they
                   25             reached out to ask for another meeting. That meeting took place on July 31st.
                                  During the meeting, the Managing Director of the fund expressed regret that I had
                   26             not moved forward previously on a going private transaction with them, and he
                                  strongly expressed his support for funding a going private transaction for Tesla at
                   27             this time. I understood from him that no other decision makers were needed and
                   28             that they were eager to proceed. I left the July 31st meeting with no question that a
                                  deal with the Saudi sovereign fund could be closed, and that it was just a matter of
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                    1          getting the process moving. This is why I referred to “funding secured” in the
                               August 7th announcement.
                    2

                    3   Elon Musk, Update on Taking Tesla Private, Tesla (Aug. 13, 2018)
                    4   https://www.tesla.com/blog/update-taking-tesla-private.
                    5          Mr. Musk did not execute a written agreement to fund the contemplated going-private
                    6   transaction with any source of funding.
                    7          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this
                    8   response should he learn any additional information responsive to the Interrogatory.
                    9   INTERROGATORY NO. 4:
                   10          Identify every source of funding for a going private transaction at $420 per share of Tesla
                   11   with whom Elon Musk had communicated prior to 12:48 P.M. EST on August 7, 2018.
                   12   RESPONSE TO INTERROGATORY NO. 4:
                   13          In addition to the foregoing General Objections and Objections to Instructions and
                   14   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory on
                   15   the grounds that it is a premature contention interrogatory.         Mr. Musk also objects to this
                   16   Interrogatory to the extent that it seeks information protected from discovery by any right to privacy
                   17   or any other applicable privilege or protection, including the right to privacy of third parties, or by
                   18   Mr. Musk’s obligations under applicable law or contract to protect such confidential information,
                   19   including as set forth in confidentiality and/or non-disclosure agreements or understandings with
                   20   third parties. Mr. Musk will provide such information, if any, only in accordance with the
                   21   Protective Order.
                   22          Mr. Musk also objects that the phrase “a going private transaction” is vague, ambiguous,
                   23   and overbroad.      Mr. Musk further objects that this Interrogatory is overbroad and unduly
                   24   burdensome and seeks information that is not relevant to the claims or defenses of any party and
                   25   not proportional to the needs of the case, to the extent that it seeks information relating to any
                   26   communication Mr. Musk had at any time prior to August 7, 2018, with any individual linked to a
                   27   potential source of funding for any contemplated going private transaction. For the purpose of this
                   28   Interrogatory, Mr. Musk will interpret the phrase “a going private transaction” to refer to the
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                    1   contemplated going private transaction that was the subject of the proposal Mr. Musk sent by email

                    2   to Tesla’s Board of Directors on August 2, 2018.

                    3             Mr. Musk further objects on the grounds that the phrase “source of funding” is undefined,

                    4   vague, ambiguous, and overbroad in the context of this Interrogatory.

                    5             Mr. Musk also objects that as defined herein, the term “Identify” when used with respect to

                    6   a person or entity is overbroad, unduly burdensome, and seeking information not relevant to the

                    7   claims or defenses of any party to the extent that it seeks the last known address and present or last

                    8   known place of employment for any natural person and the principal place of business for any

                    9   entity.

                   10             Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                   11   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                   12   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                   13   that may attach to the information requested.

                   14             Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   15             At the July 31, 2018 meeting at Tesla’s Fremont factory attended by Yasir Al-Rumayyan,

                   16   Saad Al-Jarboa, and Naif Al-Mogren from the PIF and Mr. Musk, Sam Teller, and Deepak Ahuja

                   17   from Tesla (see, e.g., TESLA_LITTLETON_00005289), Mr. Musk received an oral commitment

                   18   from Mr. Al-Rumayyan to fund the contemplated going-private transaction, as Mr. Musk and

                   19   multiple other participants in that meeting confirmed in their testimony to the SEC (see, e.g., Musk

                   20   Tr. SEC-EPROD-000016253-55; Teller Tr. SEC-EPROD-000017399-402; Ahuja Tr. SEC-

                   21   EPROD-000014461-65).

                   22             Mr. Musk further responds that, as Mr. Musk explained in his blog post “Update on Taking

                   23   Tesla Private,” published on Tesla’s website on August 13, 2018:

                   24             Going back almost two years, the Saudi Arabian sovereign wealth fund has
                   25             approached me multiple times about taking Tesla private. . . . Recently, after the
                                  Saudi fund bought almost 5% of Tesla stock through the public markets, they
                   26             reached out to ask for another meeting. That meeting took place on July 31st.
                                  During the meeting, the Managing Director of the fund expressed regret that I had
                   27             not moved forward previously on a going private transaction with them, and he
                                  strongly expressed his support for funding a going private transaction for Tesla at
                   28
                                  this time. I understood from him that no other decision makers were needed and
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                    1             that they were eager to proceed. I left the July 31st meeting with no question that a
                                  deal with the Saudi sovereign fund could be closed, and that it was just a matter of
                    2             getting the process moving. This is why I referred to “funding secured” in the
                    3             August 7th announcement.

                    4   Elon Musk, Update on Taking Tesla Private, Tesla (Aug. 13, 2018)
                    5   https://www.tesla.com/blog/update-taking-tesla-private.
                    6             Mr. Musk also communicated with Egon Durban of Silver Lake on August 6, 2018 (see,
                    7   e.g., Musk Tr. SEC-EPROD-000016277-83).
                    8             Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this
                    9   response should he learn any additional information responsive to the Interrogatory.
                   10   INTERROGATORY NO. 5:
                   11             Identify every investor referred to in Elon Musk’s tweet sent at 3:36 P.M. EST on August
                   12   7, 2018 set forth in paragraph 85 of the Complaint.
                   13   RESPONSE TO INTERROGATORY NO. 5:
                   14             In addition to the foregoing General Objections and Objections to Instructions and
                   15   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory to
                   16   the extent that it seeks information protected from discovery by any right to privacy or any other
                   17   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s
                   18   obligations under applicable law or contract to protect such confidential information, including as
                   19   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.
                   20   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.
                   21             Mr. Musk also objects that as defined herein, the term “Identify” when used with respect to
                   22   a person or entity is overbroad, unduly burdensome, and seeking information not relevant to the
                   23   claims or defenses of any party to the extent that it seeks the last known address and present or last
                   24   known place of employment for any natural person and the principal place of business for any
                   25   entity.
                   26             Mr. Musk further objects on the grounds that the term “investor” is undefined, vague, and
                   27   ambiguous in the context of this Interrogatory.
                   28             Mr. Musk also objects to this Interrogatory to the extent that it seeks information protected
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                    1   by the attorney-client privilege, work product doctrine, common interest privilege, or common law

                    2   privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure that may attach

                    3   to the information requested.

                    4          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                    5          When Mr. Musk used the term “investor” in the tweet sent at 3:36 P.M. EST on August 7,

                    6   2018, he meant “funding to take the company private.” See, e.g., Musk Tr. SEC-EPROD-

                    7   000016358-59. Mr. Musk was referring to the oral commitment from the PIF when he used the

                    8   phrase “investor support is confirmed” at 3:36 P.M. EST on August 7, 2018. See, e.g., id. At that

                    9   time Mr. Musk also had in mind other investors, including Google, SpaceX, and the UAE. See,

                   10   e.g., Musk Tr. SEC-EPROD-000016359-61.

                   11          Mr. Musk considered his statement in the tweet sent at 3:36 P.M. EST on August 7, 2018,

                   12   “investor support is confirmed,” to be “synonymous with ‘funding secured,’” and that he “felt like

                   13   there was sufficient—in fact, more than sufficient investor support to take the company private.”

                   14   (See, e.g., Musk Tr. SEC-EPROD-000016357-58.)

                   15          Mr. Musk further responds that with respect to the statement “funding secured,” as Mr.

                   16   Musk later explained in his blog post “Update on Taking Tesla Private,” published on Tesla’s

                   17   website on August 13, 2018:

                   18          Going back almost two years, the Saudi Arabian sovereign wealth fund has
                   19          approached me multiple times about taking Tesla private. . . . Recently, after the
                               Saudi fund bought almost 5% of Tesla stock through the public markets, they
                   20          reached out to ask for another meeting. That meeting took place on July 31st.
                               During the meeting, the Managing Director of the fund expressed regret that I had
                   21          not moved forward previously on a going private transaction with them, and he
                               strongly expressed his support for funding a going private transaction for Tesla at
                   22
                               this time. I understood from him that no other decision makers were needed and
                   23          that they were eager to proceed. I left the July 31st meeting with no question that a
                               deal with the Saudi sovereign fund could be closed, and that it was just a matter of
                   24          getting the process moving. This is why I referred to “funding secured” in the
                               August 7th announcement.
                   25

                   26   Elon Musk, Update on Taking Tesla Private, Tesla (Aug. 13, 2018)

                   27   https://www.tesla.com/blog/update-taking-tesla-private.

                   28          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this
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                    1   response should he learn any additional information responsive to the Interrogatory.

                    2   INTERROGATORY NO. 6:

                    3          Identify every instance prior to August 7, 2018 where Elon Musk had stated that funding

                    4   for a transaction had been secured.

                    5   RESPONSE TO INTERROGATORY NO. 6:

                    6          In addition to the foregoing General Objections and Objections to Instructions and

                    7   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory to

                    8   the extent that it seeks information protected from discovery by any right to privacy or any other

                    9   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                   10   obligations under applicable law or contract to protect such confidential information, including as

                   11   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                   12   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.

                   13          Mr. Musk also objects on the grounds that the Interrogatory is overbroad and unduly

                   14   burdensome and seeks information that is not relevant to the claims or defenses of any party and

                   15   not proportional to the needs of the case because it does not define any relevant time period.

                   16          Mr. Musk further objects on the grounds that the phrase “secured” is undefined and

                   17   susceptible to multiple varied interpretations.

                   18          Mr. Musk also objects to the phrase “every instance” on the grounds that it is undefined,

                   19   overbroad, and unduly burdensome. Mr. Musk further objects on the grounds that this Interrogatory

                   20   is overbroad and unduly burdensome and seeks information that is not relevant to the claims or

                   21   defenses of any party and not proportional to the needs of this case because the Interrogatory does

                   22   not limit the phrase “every instance” in any way, for example to public statements or statements to

                   23   certain individuals, nor does it limit the scope of the request to statements relating to the potential

                   24   transaction that was the subject of the proposal Mr. Musk sent by email to Tesla’s Board of

                   25   Directors on August 2, 2018.

                   26          Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                   27   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                   28   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure
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ATTORNEYS AT LAW                                                            MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   that may attach to the information requested.

                    2          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                    3          At the July 31, 2018 meeting at Tesla’s Fremont factory attended by Yasir Al-Rumayyan,

                    4   Saad Al-Jarboa, and Naif Al-Mogren from the PIF and Mr. Musk, Sam Teller, and Deepak Ahuja

                    5   from Tesla (see, e.g., TESLA_LITTLETON_00005289), Mr. Musk received an oral commitment

                    6   from Mr. Al-Rumayyan to fund the contemplated going-private transaction, as Mr. Musk and

                    7   multiple other participants in that meeting confirmed in their testimony to the SEC (see, e.g., Musk

                    8   Tr. SEC-EPROD-000016253-55; Teller Tr. SEC-EPROD-000017399-402; Ahuja Tr. SEC-

                    9   EPROD-000014461-65).

                   10          Mr. Musk further responds that Mr. Musk discussed the PIF’s funding commitment and the

                   11   contemplated going private transaction with a number of individuals prior to August 7, 2018,

                   12   including Sam Teller on July 31 and August 1, 2018 (see, e.g., Teller Tr. SEC-EPROD-000017439-

                   13   40); James Murdoch on August 2, 2018 (see, e.g., Murdoch Tr. SEC-EPROD-000015917-19);

                   14   participants in the August 3, 2018 meeting of Tesla’s Board of Directors, including Deepak Ahuja,

                   15   Todd Maron, Phil Rothenberg, Jonathan Chang, and Tesla Directors Brad Buss, Robyn Denholm,

                   16   Ira Ehrenpreis, Antonio Gracias, Kimbal Musk, James Murdoch, and Linda Johnson Rice (see, e.g.,

                   17   Ahuja Tr. SEC-EPROD-000014525-28, SEC-EPROD-000014533, SEC-EPROD-000014545;

                   18   Buss Tr. SEC-EPROD-000014795-97; Denholm Tr. SEC-EPROD-000016955-56; Ehrenpreis Tr.

                   19   SEC-EPROD-000015154-57; Gracias Tr. SEC-EPROD-000015542-46); and Egon Durban of

                   20   Silver Lake on August 6, 2018 (see, e.g., Musk Tr. SEC-EPROD-000016277-78).

                   21          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                   22   response should he learn any additional information responsive to the Interrogatory.

                   23   INTERROGATORY NO. 7:

                   24          Identify when Elon Musk retained “Silver Lake and Goldman Sachs as financial advisors,

                   25   plus Wachtell, Lipton, Rosen & Katz and Munger, Tolles & Olson as legal advisors” as set forth in

                   26   paragraph 104 of the Complaint.

                   27   RESPONSE TO INTERROGATORY NO. 7:

                   28          In addition to the foregoing General Objections and Objections to Instructions and
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                    1   Definitions, which are incorporated by reference herein, Mr. Musk also objects to this Interrogatory

                    2   to the extent that it seeks information protected from discovery by any right to privacy or any other

                    3   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                    4   obligations under applicable law or contract to protect such confidential information, including as

                    5   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                    6   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.

                    7          Mr. Musk further objects on the grounds that the phrase “retained” is undefined, vague,

                    8   ambiguous, and overbroad in the context of this Interrogatory. Mr. Musk also objects that this

                    9   Interrogatory is overbroad and unduly burdensome and seeks information not relevant to any

                   10   party’s claim or defense because no Defendant is alleged to have stated that Mr. Musk “retained”

                   11   Silver Lake, Goldman Sachs, Wachtell Lipton Rose & Katz, and/or Munger Tolles & Olson. Cf.

                   12   Complaint ¶ 104.

                   13          Musk also objects that the term “Identify” when used with respect to time is undefined,

                   14   vague, and ambiguous in the context of this Interrogatory.

                   15          Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                   16   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                   17   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                   18   that may attach to the information requested.

                   19          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   20          Mr. Musk’s dealings with legal and/or financial advisors regarding the contemplated going

                   21   private transaction that was the subject of the proposal Mr. Musk sent by email to Tesla’s Board of

                   22   Directors on August 2, 2018 are addressed in documents and testimony including: Musk Tr. SEC-

                   23   EPROD-000016277-79; Musk Tr. SEC-EPROD-000016283-84; ERM_SEC_AUG7_00000001;

                   24   ERM_SEC_AUG7_00000006;               SEC-EPROD-000005436;        SEC-EPROD-000007442;          SEC-

                   25   EPROD-000008081; ERM_SECAUG7_00000021; SEC-EPROD-000006255; SEC-EPROD-

                   26   000006256;         Durban      Tr.       SEC-EPROD-000016652;            SEC-EPROD-000006103;

                   27   TESLA_LITTLETON_00005195; TESLA_LITTLETON_00001212; SEC-EPROD-000017136;

                   28   SEC-EPROD-000011315; SEC-EPROD-000005377; SEC-EPROD-000009780; SEC-EPROD-
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                    1   000009781;                   SEC-EPROD-000009787;                         SEC-EPROD-000009866;

                    2   TESLA_LITTLETON_00004961; TESLA_LITTLETON_00006108; SEC-EPROD-000009826;

                    3   SEC-EPROD-000010904; SEC-EPROD-000010905; SEC-EPROD-000005518.

                    4          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                    5   response should he learn any additional information responsive to the Interrogatory.

                    6   INTERROGATORY NO. 8:

                    7          Identify when prior to August 7, 2018 Elon Musk had discussed the potential price of $420

                    8   for a going private transaction of Tesla with the Public Investment Fund.

                    9   RESPONSE TO INTERROGATORY NO. 8:

                   10          In addition to the foregoing General Objections and Objections to Instructions and

                   11   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory to

                   12   the extent that it seeks information protected from discovery by any right to privacy or any other

                   13   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                   14   obligations under applicable law or contract to protect such confidential information, including as

                   15   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                   16   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.

                   17          Mr. Musk also objects that the phrase “a going private transaction of Tesla” is vague,

                   18   ambiguous, and overbroad. Mr. Musk further objects that this Interrogatory is overbroad and

                   19   unduly burdensome and seeks information that is not relevant to the claims or defenses of any party

                   20   and not proportional to the needs of the case, to the extent that it seeks information relating to any

                   21   time Mr. Musk discussed the potential price of $420 with the PIF for any going private transaction

                   22   contemplated at any time prior to August 7, 2018. For the purpose of this Interrogatory, Mr. Musk

                   23   will interpret the phrase “a going private transaction of Tesla” to refer to the contemplated going

                   24   private transaction that was the subject of the proposal Mr. Musk sent by email to Tesla’s Board of

                   25   Directors on August 2, 2018.

                   26          Mr. Musk also objects that the term “Identify” when used with respect to time is undefined,

                   27   vague, and ambiguous in the context of this Interrogatory.

                   28          Mr. Musk further objects to this Interrogatory to the extent that it seeks information
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                    1   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                    2   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                    3   that may attach to the information requested.

                    4          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                    5          Mr. Musk testified that he arrived at the potential price of $420 on August 2, 2018, by

                    6   calculating a 20% premium above the closing price of Tesla’s stock on that date, because he

                    7   believed that “in any kind of acquisition like this, a premium is standard,” and that 20% was “a

                    8   reasonable expectation in the absence of a specific number” and “a typical number for . . . take

                    9   privates or acquisitions.” (See, e.g., Musk Tr. SEC-EPROD-000016235-36.) When Mr. Al-

                   10   Rumayyan made an oral commitment to fund the contemplated going private transaction at the July

                   11   31, 2018 meeting, the most reasonable inference—which Mr. Musk made—was that the PIF was

                   12   ready, willing, and able to fund the transaction at a standard, reasonable price premium. (See, e.g.,

                   13   id.; Musk Tr. SEC-EPROD-000016244; SEC-EPROD-000016255-61.) Prior to August 7, 2018,

                   14   Mr. Musk did not discuss the specific potential price of $420 for a going private transaction of

                   15   Tesla with the PIF.

                   16          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                   17   response should he learn any additional information responsive to the Interrogatory.

                   18   INTERROGATORY NO. 9:

                   19          Identify when prior to August 7, 2018 Elon Musk had discussed the potential price of $420

                   20   for a going private transaction of Tesla with any investor.

                   21   RESPONSE TO INTERROGATORY NO. 9:

                   22          In addition to the foregoing General Objections and Objections to Instructions and

                   23   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory to

                   24   the extent that it seeks information protected from discovery by any right to privacy or any other

                   25   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                   26   obligations under applicable law or contract to protect such confidential information, including as

                   27   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                   28   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.
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                    1          Mr. Musk further objects on the grounds that the term “investor” is undefined, vague, and

                    2   ambiguous in the context of this Interrogatory. Subject to this objection, Mr. Musk will interpret

                    3   the term “investor” to exclude Tesla employees and members of Tesla’s Board of Directors and

                    4   their affiliated fund(s). Mr. Musk will also interpret the term “investor” to refer to potential

                    5   investors in the contemplated going private transaction that was the subject of the proposal Mr.

                    6   Musk sent by email to Tesla’s Board of Directors on August 2, 2018.

                    7          Mr. Musk also objects that the phrase “a going private transaction of Tesla” is vague,

                    8   ambiguous, and overbroad. Mr. Musk further objects that this Interrogatory is overbroad and

                    9   unduly burdensome and seeks information that is not relevant to the claims or defenses of any party

                   10   and not proportional to the needs of the case, to the extent that it seeks information relating to any

                   11   time Mr. Musk discussed the potential price of $420 for any going private transaction contemplated

                   12   at any time prior to August 7, 2018. For the purpose of this Interrogatory, Mr. Musk will interpret

                   13   the phrase “a going private transaction of Tesla” to refer to the contemplated going private

                   14   transaction that was the subject of the proposal Mr. Musk sent by email to Tesla’s Board of

                   15   Directors on August 2, 2018.

                   16          Mr. Musk also objects that the term “Identify” when used with respect to time is undefined,

                   17   vague, and ambiguous in the context of this Interrogatory.

                   18          Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                   19   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                   20   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                   21   that may attach to the information requested.

                   22          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   23          Mr. Musk does not recall, prior to August 7, 2018, discussing the specific potential price of

                   24   $420 with any potential source of funding for a transaction to take Tesla private. Mr. Musk testified

                   25   that he arrived at the potential price of $420 on August 2, 2018, by calculating a 20% premium

                   26   above the closing price of Tesla’s stock on that date, because he believed that “in any kind of

                   27   acquisition like this, a premium is standard,” and that 20% was “a reasonable expectation in the

                   28   absence of a specific number” and “a typical number for . . . take privates or acquisitions.” (See,
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ATTORNEYS AT LAW                                                           MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   e.g., Musk Tr. SEC-EPROD-000016235-36.) When Mr. Al-Rumayyan made an oral commitment

                    2   to fund the contemplated going private transaction at the July 31, 2018 meeting, the most reasonable

                    3   inference—which Mr. Musk made—was that the PIF was ready, willing, and able to fund the

                    4   transaction at a standard, reasonable price premium. (See, e.g., id.; Musk Tr. SEC-EPROD-

                    5   000016244; SEC-EPROD-000016255-61.)

                    6          Mr. Musk further responds that Mr. Musk did not speak to investors other than the PIF

                    7   about the contemplated going private transaction prior to August 7, 2018, when he made the

                    8   information public to all investors at once via Twitter. For Mr. Musk’s testimony on this point,

                    9   see, e.g., Musk Tr. SEC-EPROD-000016321-23.

                   10          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                   11   response should he learn any additional information responsive to the Interrogatory.

                   12   INTERROGATORY NO. 10:

                   13          Identify any Communications Elon Musk had with the Public Investment Fund and/or its

                   14   representatives after July 31, 2018 and before August 7, 2018.

                   15   RESPONSE TO INTERROGATORY NO. 10:

                   16          In addition to the foregoing General Objections and Objections to Instructions and

                   17   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory to

                   18   the extent that it seeks information protected from discovery by any right to privacy or any other

                   19   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                   20   obligations under applicable law or contract to protect such confidential information, including as

                   21   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                   22   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.

                   23          Mr. Musk further objects that this Interrogatory is overbroad and unduly burdensome and

                   24   seeks information that is not relevant to the claims or defenses of any party and not proportional to

                   25   the needs of the case, to the extent that it seeks information relating to any Communications Mr.

                   26   Musk had with the Public Investment Fund and/or its representatives such that this Interrogatory is

                   27   not limited to Communications related to the subject matter of this case. Mr. Musk also objects on

                   28   the grounds that the term “Communications” is overbroad, unduly burdensome, and seeking
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                    1   information protected by a privacy interest, to the extent that the Definition refers to “any

                    2   disclosure, transfer or exchange of information or opinion in whatever form . . . and by any means

                    3   of transmission or receipt.”

                    4          Mr. Musk also objects that as defined herein, the term “Identify” with respect to

                    5   “Communications” is overbroad, unduly burdensome, and seeking information not relevant to the

                    6   claims or defenses of any party to the extent that it seeks the type of Communication; the

                    7   identification of each person who made, received, or was present when the Communication or

                    8   Communications were made; the phone number, email, or user/handle name of each person who

                    9   made, received, or was present when the Communication or Communications were made, where

                   10   the Communication or Communications were not conducted in person; the location of each person

                   11   who made, received, or was present when the Communication or Communications took place; and

                   12   the subject matter discussed to the extent that subject matter is not relevant to the claims or defenses

                   13   of any party.

                   14          Mr. Musk further objects to the time period of “after July 31, 2018 and before August 7,

                   15   2018” as vague and ambiguous. To the extent that Mr. Musk provides information in response to

                   16   this Interrogatory, he interprets the phrase “after July 31, 2018 and before August 7, 2018” to refer

                   17   to the period between August 1, 2018 and August 6, 2018, inclusive.

                   18          Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                   19   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                   20   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                   21   that may attach to the information requested.

                   22          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   23          Mr. Musk cannot rule out the possibility that there were communications between him and

                   24   the PIF and/or its representatives between August 1, 2018 and August 6, 2018, but has not been

                   25   able to identify a specific instance of such a communication. (See, e.g., Musk Tr. SEC-EPROD-

                   26   000016271-72).

                   27          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                   28   response should he learn any additional information responsive to the Interrogatory.
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ATTORNEYS AT LAW                                                             MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   INTERROGATORY NO. 11:

                    2          Identify any potential investors with whom Elon Musk discussed a going private transaction

                    3   of Tesla prior to August 7, 2018.

                    4   RESPONSE TO INTERROGATORY NO. 11:

                    5          In addition to the foregoing General Objections and Objections to Instructions and

                    6   Definitions, which are incorporated by reference herein, Mr. Musk also objects to this Interrogatory

                    7   to the extent that it seeks information protected from discovery by any right to privacy or any other

                    8   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                    9   obligations under applicable law or contract to protect such confidential information, including as

                   10   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                   11   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.

                   12          Mr. Musk also objects on the grounds that the Interrogatory is overbroad and unduly

                   13   burdensome and seeks information that is not relevant to the claims or defenses of any party and

                   14   not proportional to the needs of the case because it does not define any relevant time period.

                   15          Mr. Musk further objects on the grounds that the phrase “potential investors” is undefined,

                   16   vague, and ambiguous in the context of this Interrogatory.

                   17          Mr. Musk also objects that the phrase “a going private transaction of Tesla” is vague,

                   18   ambiguous, and overbroad. Mr. Musk further objects that this Interrogatory is overbroad and

                   19   unduly burdensome and seeks information that is not relevant to the claims or defenses of any party

                   20   and not proportional to the needs of the case, to the extent that it seeks information relating to any

                   21   potential investors with whom Mr. Musk discussed any going private transaction contemplated at

                   22   any time prior to August 7, 2018. For the purpose of this Interrogatory, Mr. Musk will interpret

                   23   the phrase “a going private transaction of Tesla” to refer to the contemplated going private

                   24   transaction that was the subject of the proposal Mr. Musk sent by email to Tesla’s Board of

                   25   Directors on August 2, 2018.

                   26          Mr. Musk also objects that the Definition of “Identify” when used with respect to a person

                   27   or entity is overbroad, unduly burdensome, and seeking information not relevant to the claims or

                   28   defenses of any party to the extent that it seeks the last known address and present or last known
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                    1   place of employment for any natural person and the principal place of business for any entity.

                    2           Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                    3   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                    4   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                    5   that may attach to the information requested.

                    6           Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                    7           At the July 31, 2018 meeting at Tesla’s Fremont factory attended by Yasir Al-Rumayyan,

                    8   Saad Al-Jarboa, and Naif Al-Mogren from the PIF and Mr. Musk, Sam Teller, and Deepak Ahuja

                    9   from Tesla (see, e.g., TESLA_LITTLETON_00005289), Mr. Musk received an oral commitment

                   10   from Mr. Al-Rumayyan to fund the contemplated going-private transaction, as Mr. Musk and

                   11   multiple other participants in that meeting confirmed in their testimony to the SEC (see, e.g., Musk

                   12   Tr. SEC-EPROD-000016253-55; Teller Tr. SEC-EPROD-000017399-402; Ahuja Tr. SEC-

                   13   EPROD-000014461-65).

                   14           Mr. Musk further responds that Mr. Musk did not speak to investors other than the PIF

                   15   about the potential transaction prior to August 7, 2018, when he made the information public to all

                   16   investors at once via Twitter. For Mr. Musk’s testimony on this point, see, e.g., Musk Tr. SEC-

                   17   EPROD-000016321-23.

                   18           Mr. Musk further responds that Mr. Musk spoke about his ongoing interest in taking Tesla

                   19   private both in private conversations and in public statements multiple times over the years. See,

                   20   e.g.,   Neil   Strauss,   Elon   Musk:   The    Architect   of   Tomorrow     (Nov.    15,   2017),

                   21   https://www.rollingstone.com/culture/culture-features/elon-musk-the-architect-of-tomorrow-

                   22   120850/ (“I wish we could be private with Tesla . . . . It actually makes us less efficient to be a

                   23   public company.”); (Kimbal Musk Tr. SEC-EPROD-000016417-18 (recounting conversation with

                   24   Mr. Musk about taking Tesla private several days after Tesla went public in 2010)).

                   25           Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                   26   response should he learn any additional information responsive to the Interrogatory.

                   27   INTERROGATORY NO. 12:

                   28           Identify any proposal Elon Musk provided to Tesla’s Board prior to August 7, 2018 for a
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ATTORNEYS AT LAW                                                          MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   going private transaction of Tesla.

                    2   RESPONSE TO INTERROGATORY NO. 12:

                    3          In addition to the foregoing General Objections and Objections to Instructions and

                    4   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory to

                    5   the extent that it seeks information protected from discovery by any right to privacy or any other

                    6   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                    7   obligations under applicable law or contract to protect such confidential information, including as

                    8   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                    9   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.

                   10          Mr. Musk further objects on the grounds that the term “proposal” is undefined, vague,

                   11   ambiguous, and overbroad in the context of this Interrogatory.

                   12          Mr. Musk also objects on the grounds that the Interrogatory is overbroad and unduly

                   13   burdensome and seeks information that is not relevant to the claims or defenses of any party and

                   14   not proportional to the needs of the case because it does not define any relevant time period.

                   15          Mr. Musk also objects that the phrase “a going private transaction of Tesla” is vague,

                   16   ambiguous, and overbroad. Mr. Musk further objects that this Interrogatory is overbroad and

                   17   unduly burdensome and seeks information that is not relevant to the claims or defenses of any party

                   18   and not proportional to the needs of the case, to the extent that it seeks information relating to any

                   19   proposal Mr. Musk provided to Tesla’s Board for any going private transaction at any time prior to

                   20   August 7, 2018. For the purpose of this Interrogatory, Mr. Musk will interpret the phrase “a going

                   21   private transaction of Tesla” to refer to the contemplated going private transaction that was the

                   22   subject of the proposal Mr. Musk sent by email to Tesla’s Board of Directors on August 2, 2018.

                   23          Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                   24   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                   25   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                   26   that may attach to the information requested.

                   27          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   28          Mr. Musk made a proposal to Tesla’s Board for the contemplated going private transaction
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ATTORNEYS AT LAW                                                           MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   in his August 2, 2018 email to Tesla’s Board. (See, e.g., TESLA_LITTLETON_00005463.)

                    2          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                    3   response should he learn any additional information responsive to the Interrogatory.

                    4   INTERROGATORY NO. 13:

                    5          Identify any legal and/or financial advisors that Elon Musk retained prior to August 7, 2018

                    6   to assist with a going private transaction of Tesla.

                    7   RESPONSE TO INTERROGATORY NO. 13:

                    8          In addition to the foregoing General Objections and Objections to Instructions and

                    9   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory to

                   10   the extent that it seeks information protected from discovery by any right to privacy or any other

                   11   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                   12   obligations under applicable law or contract to protect such confidential information, including as

                   13   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                   14   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.

                   15          Mr. Musk also objects that the phrase “a going private transaction of Tesla” is vague,

                   16   ambiguous, and overbroad. Mr. Musk further objects that this Interrogatory is overbroad and

                   17   unduly burdensome and seeks information that is not relevant to the claims or defenses of any party

                   18   and not proportional to the needs of the case, to the extent that it seeks information relating to any

                   19   legal and/or financial advisors that Mr. Musk retained to assist with any going private transaction

                   20   at any time prior to August 7, 2018. For the purpose of this Interrogatory, Mr. Musk will interpret

                   21   the phrase “a going private transaction of Tesla” to refer to the contemplated going private

                   22   transaction that was the subject of the proposal Mr. Musk sent by email to Tesla’s Board of

                   23   Directors on August 2, 2018.

                   24          Mr. Musk further objects on the grounds that the phrase “retained” is undefined, vague,

                   25   ambiguous, and overbroad in the context of this Interrogatory. Mr. Musk also objects that this

                   26   Interrogatory is overbroad and unduly burdensome and seeks information not relevant to any

                   27   party’s claim or defense because no Defendant is alleged to have stated that Mr. Musk “retained”

                   28   any legal and/or financial advisors.
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ATTORNEYS AT LAW                                                               MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1          Mr. Musk also objects that the Definition of “Identify” when used with respect to a person

                    2   or entity is overbroad, unduly burdensome, and seeking information not relevant to the claims or

                    3   defenses of any party to the extent that it seeks the last known address and present or last known

                    4   place of employment for any natural person and the principal place of business for any entity.

                    5          Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                    6   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                    7   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                    8   that may attach to the information requested.

                    9          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   10          Between the July 31, 2018 meeting attended by representatives from the PIF and Tesla at

                   11   Tesla’s Fremont factory and the morning of August 7, Mr. Musk did not retain advisors to assist

                   12   with the contemplated going private transaction that was the subject of the proposal Mr. Musk sent

                   13   by email to Tesla’s Board of Directors on August 2, 2018. (See, e.g., Musk Tr. SEC-EPROD-

                   14   000016273.)

                   15          Mr. Musk’s dealings with legal and/or financial advisors regarding the contemplated going

                   16   private transaction that was the subject of the proposal Mr. Musk sent by email to Tesla’s Board of

                   17   Directors on August 2, 2018 are addressed in documents and testimony including: Musk Tr. SEC-

                   18   EPROD-000016277-79; Musk Tr. SEC-EPROD-000016283-84; ERM_SEC_AUG7_00000001;

                   19   ERM_SEC_AUG7_00000006;               SEC-EPROD-000005436;      SEC-EPROD-000007442;           SEC-

                   20   EPROD-000008081; ERM_SECAUG7_00000021; SEC-EPROD-000006255; SEC-EPROD-

                   21   000006256;       Durban        Tr.       SEC-EPROD-000016652;           SEC-EPROD-000006103;

                   22   TESLA_LITTLETON_00005195; TESLA_LITTLETON_00001212; SEC-EPROD-000017136;

                   23   SEC-EPROD-000011315; SEC-EPROD-000005377; SEC-EPROD-000009780; SEC-EPROD-

                   24   000009781;                  SEC-EPROD-000009787;                        SEC-EPROD-000009866;

                   25   TESLA_LITTLETON_00004961; TESLA_LITTLETON_00006108; SEC-EPROD-000009826;

                   26   SEC-EPROD-000010904; SEC-EPROD-000010905; SEC-EPROD-000005518.

                   27          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                   28   response should he learn any additional information responsive to the Interrogatory.
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ATTORNEYS AT LAW                                                          MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   INTERROGATORY NO. 14:

                    2          Identify any Communications prior to August 7, 2018 that Elon Musk had with retail

                    3   investors regarding their ability to remain shareholders in Tesla if it ceased being a publicly listed

                    4   corporation.

                    5   RESPONSE TO INTERROGATORY NO. 14:

                    6          In addition to the foregoing General Objections and Objections to Instructions and

                    7   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory to

                    8   the extent that it seeks information protected from discovery by any right to privacy or any other

                    9   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                   10   obligations under applicable law or contract to protect such confidential information, including as

                   11   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                   12   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.

                   13           Mr. Musk also objects on the grounds that as defined herein, the term “Communications”

                   14    is overbroad, unduly burdensome, and seeks information protected by a privacy interest, to the

                   15    extent that the Definition refers to “any disclosure, transfer or exchange of information or opinion

                   16    in whatever form . . . and by any means of transmission or receipt.”

                   17          Mr. Musk further objects on the grounds that the phrase “retail investors” is undefined,

                   18   vague, and ambiguous in the context of this Interrogatory. Subject to this objection, Mr. Musk will

                   19   interpret the phrase “retail investors” as referring to “non-professional investor[s] who buy[] and

                   20   sell[] securities or funds that contain a basket of securities such as mutual funds and exchange

                   21   traded funds . . . through traditional or online brokerage firms or other types of investment

                   22   accounts.”        Adam      Hayes,     Retail    Investor,    Investopedia     (Feb.    17,    2021),

                   23   https://www.investopedia.com/terms/r/retailinvestor.asp.

                   24          Mr. Musk also objects on the grounds that the Interrogatory is overbroad and unduly

                   25   burdensome and seeks information that is not relevant to the claims or defenses of any party and

                   26   not proportional to the needs of the case because it does not define any relevant time period.

                   27          Mr. Musk also objects on the grounds that the phrase “if [Tesla] ceased being a publicly

                   28   listed corporation” is vague and ambiguous. Mr. Musk further objects that this Interrogatory is
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ATTORNEYS AT LAW                                                           MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   overbroad and unduly burdensome and seeks information that is not relevant to the claims or

                    2   defenses of any party and not proportional to the needs of the case, to the extent that it seeks

                    3   information relating to any Communications Mr. Musk had with retail investors regarding their

                    4   ability to remain shareholders in Tesla if it ceased being a publicly listed corporation under any

                    5   circumstance, at any time prior to August 7, 2018. Subject to this objection, Mr. Musk will interpret

                    6   the phrase “if [Tesla] ceased being a publicly listed corporation” as referring to the possibility that

                    7   Tesla would cease to be a publicly listed corporation if the contemplated going private transaction

                    8   that was the subject of the proposal Mr. Musk sent by email to Tesla’s Board of Directors on August

                    9   2, 2018 went forward.

                   10          Mr. Musk further objects that as defined herein, the term “Identify” with respect to

                   11   “Communications” is overbroad, unduly burdensome, and seeking information not relevant to the

                   12   claims or defenses of any party to the extent that it seeks the type of Communication; the

                   13   identification of each person who made, received, or was present when the Communication or

                   14   Communications were made; the phone number, email, or user/handle name of each person who

                   15   made, received, or was present when the Communication or Communications were made, where

                   16   the Communication or Communications were not conducted in person; the location of each person

                   17   who made, received, or was present when the Communication or Communications took place; and

                   18   the subject matter discussed to the extent that subject matter is not relevant to the claims or defenses

                   19   of any party.

                   20          Mr. Musk also objects to this Interrogatory to the extent that it seeks information protected

                   21   by the attorney-client privilege, work product doctrine, common interest privilege, or common law

                   22   privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure that may attach

                   23   to the information requested.

                   24          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   25          Mr. Musk did not speak to investors other than the PIF about the potential transaction prior

                   26   to August 7, 2018, when he made the information public to all investors at once via Twitter. For

                   27   Mr. Musk’s testimony on this point, see, e.g., Musk Tr. SEC-EPROD-000016321-23.

                   28          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this
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ATTORNEYS AT LAW                                                             MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   response should he learn any additional information responsive to the Interrogatory.

                    2   INTERROGATORY NO. 15:

                    3          Identify all investigations into any Defendant relating to Elon Musk’s August 7, 2018 tweets

                    4   by any federal or state department, agency, or other regulatory body, including FINRA.

                    5   RESPONSE TO INTERROGATORY NO. 15:

                    6          In addition to the foregoing General Objections and Objections to Instructions and

                    7   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory to

                    8   the extent that it seeks information protected from discovery by any right to privacy or any other

                    9   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                   10   obligations under applicable law or contract to protect such confidential information, including as

                   11   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                   12   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.

                   13          Mr. Musk further objects on the grounds that the term “investigations” is undefined, vague,

                   14   ambiguous, and overbroad in the context of this Interrogatory. Mr. Musk also objects to this

                   15   Interrogatory to the extent that it would seek to impose on Mr. Musk an obligation to investigate or

                   16   discover information or materials from third parties equally accessible to Plaintiff.

                   17          Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                   18   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                   19   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                   20   that may attach to the information requested.

                   21          Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   22          Mr. Musk is aware of the following investigations relating to Mr. Musk’s August 7, 2018

                   23   tweets: the Securities and Exchange Commission (No. SF-4082), the United States Department of

                   24   Justice (No. 2017R01454), and the New York State Office of the Attorney General (subpoena to

                   25   Tesla served on September 24, 2018).

                   26          Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                   27   response should he learn any additional information responsive to the Interrogatory.

                   28
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ATTORNEYS AT LAW                                                           MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   INTERROGATORY NO. 16:

                    2           Identify any actual, proposed, or contemplated investment from January 1, 2018 to October

                    3   31, 2018 which would result in a potential investor owning, directly or indirectly, 4% or more of

                    4   Tesla’s total equity or total debt.

                    5   RESPONSE TO INTERROGATORY NO. 16:

                    6           In addition to the foregoing General Objections and Objections to Instructions and

                    7   Definitions, which are incorporated by reference herein, Mr. Musk objects to this Interrogatory to

                    8   the extent that it seeks information protected from discovery by any right to privacy or any other

                    9   applicable privilege or protection, including the right to privacy of third parties, or by Mr. Musk’s

                   10   obligations under applicable law or contract to protect such confidential information, including as

                   11   set forth in confidentiality and/or non-disclosure agreements or understandings with third parties.

                   12   Mr. Musk will provide such information, if any, only in accordance with the Protective Order.

                   13           Mr. Musk also objects on the grounds that this Interrogatory is overbroad and unduly

                   14   burdensome, and seeks information not relevant to the claims or defenses of any party and not

                   15   proportional to the needs of this case, as Mr. Musk cannot possibly be aware of any potential

                   16   investor who may have “proposed” or “contemplated” such an investment and because there are no

                   17   allegations about any actual, proposed, or contemplated investment that would result in a potential

                   18   investor owning, directly or indirectly, 4% or more of Tesla’s total equity or total debt other than

                   19   the investment by the PIF.

                   20           Mr. Musk further objects on the grounds that the phrase “potential investor” is undefined,

                   21   vague, and ambiguous in the context of this Interrogatory. Mr. Musk also objects on the grounds

                   22   that the phrase “investment . . . which would result in a potential investor owning, directly or

                   23   indirectly, 4% or more of Tesla’s total equity or total debt” is undefined, vague, and ambiguous in

                   24   the context of this Interrogatory. For the purpose of this Interrogatory, Mr. Musk will interpret that

                   25   phrase to only concern investment(s) that would result in an investor owning 4% or more of Tesla’s

                   26   total equity or total debt where that investor previously owned less than 4% of Tesla’s total equity

                   27   or total debt.

                   28           Mr. Musk further objects to this Interrogatory as overbroad and unduly burdensome to the
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ATTORNEYS AT LAW                                                            MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1   extent it seeks information that is publicly available and/or already in Plaintiff’s possession. Mr.

                    2   Musk also objects to this Interrogatory to the extent that it would seek to impose on Mr. Musk an

                    3   obligation to investigate or discover information or materials from third parties equally accessible

                    4   to Plaintiff.

                    5            Mr. Musk further objects to this Interrogatory to the extent that it seeks information

                    6   protected by the attorney-client privilege, work product doctrine, common interest privilege, or

                    7   common law privilege, doctrine, immunity, rule of confidentiality, or protection from disclosure

                    8   that may attach to the information requested.

                    9            Subject to and without waiving the foregoing objections, Mr. Musk responds as follows:

                   10            Mr. Musk is aware of SEC guidelines requiring investor(s) to file certain public disclosures

                   11   when a person or group acquires more than 5% of a company’s stock. Any such public disclosures

                   12   are equally available to Plaintiff.

                   13            During the July 31, 2018 meeting attended by representatives from the PIF and Tesla at

                   14   Tesla’s Fremont factory, Mr. Al-Rumayyan informed Mr. Musk that the PIF had invested in Tesla

                   15   stock resulting in an ownership stake of nearly 5%. (See, e.g., Musk Tr. SEC-EPROD-000016224.)

                   16            Discovery is ongoing and Mr. Musk reserves the right to supplement and/or amend this

                   17   response should he learn any additional information responsive to the Interrogatory.

                   18
                        Dated:     September 10, 2021                      COOLEY LLP
                   19

                   20                                                      By:           /s/ Patrick E. Gibbs
                                                                                         PATRICK E. GIBBS
                   21
                                                                           Attorney for Defendants TESLA, INC., ELON
                   22                                                      MUSK, BRAD W. BUSS, ROBYN
                                                                           DENHOLM, IRA EHRENPREIS, ANTONIO
                   23                                                      J. GRACIAS, JAMES MURDOCH, KIMBAL
                                                                           MUSK, and LINDA JOHNSON RICE
                   24

                   25

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                   28
COOLEY LLP
ATTORNEYS AT LAW                                                            MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1                                         PROOF OF SERVICE

                    2          I am a citizen of the United States and a resident of the State of California. I am employed

                    3   in Santa Clara County, State of California, in the office of a member of the bar of this Court, at

                    4   whose direction the service was made. I am over the age of eighteen years, and not a party to the

                    5   within action. My business address is Cooley LLP, 3175 Hanover Street, Palo Alto, California

                    6   94304-1130. On the date set forth below I served the documents described below in the manner

                    7   described below:

                    8            ELON R. MUSK’S AMENDED AND SUPPLEMENTAL RESPONSES TO
                    9                   LEAD PLAINTIFF’S FIRST SET OF INTERROGATORIES

                   10          I am personally and readily familiar with the business practice of Cooley LLP for the
                   11   preparation and processing of documents in portable document format (PDF) for e-mailing, and I
                   12   caused said documents to be prepared in PDF and then served by electronic mail to the parties listed
                   13   below on the following part(ies) in this action:
                   14
                               LEVI & KORSINSKY, LLP                          LEVI & KORSINSKY, LLP
                   15          Adam M. Apton                                  Nicholas I. Porritt (admitted PHV)
                               Adam C. McCall                                 Elizabeth K Tripodi (admitted PHV)
                   16          388 Market Street, Suite 1300                  Alexander Krot III (admitted PHV)
                               San Francisco, CA 94111                        Brian Stewart (admitted PHV)
                   17          aapton@zlk.com                                 1101 30th Street NW, Suite 115
                               amccall@zlk.com                                Washington, D.C. 20007
                   18
                                                                              nporritt@zlk.com
                   19                                                         etripodi@zlk.com
                                                                              akrot@zlk.com
                   20                                                         bstewart@zlk.com
                               LEVI & KORSINSKY, LLP
                   21          Eduard Korsinsky (admitted PHV)
                   22          Joseph Levi (admitted PHV)
                               Max Weiss (admitted PHV)
                   23          55 Broadway, 10th Floor
                               New York, NY 10006
                   24          ek@zlk.com
                               jlevi@zlk.com
                   25          mweiss@zlk.com
                   26           Executed on September 10, 2021, at Pacifica, California.
                   27
                                                                                     /s/ Amy Garcia
                   28                                                                   Amy Garcia
COOLEY LLP
ATTORNEYS AT LAW                                                           MUSK’S AM. AND SUPP. RESPONSES TO LEAD PLAINTIFF’S
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                    1                                           VERIFICATION
                    2          I, Elon R. Musk, have read Lead Plaintiff Glen Littleton’s First Set of Interrogatories to
                    3   Elon R. Musk and my answers to those interrogatories, which are true according to the best of my
                    4   knowledge, information, and belief.
                    5          I declare under penalty of perjury that the foregoing is true and
                    6          correct. Executed in Los Angeles, California on April 14, 2021.
                    7

                    8

                    9                                                                    Elon R. Musk
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COOLEY LLP                                                                           MUSK’S RESPONSES TO LEAD PLAINTIFF’S 1ST
ATTORNEYS AT LAW
                                                                                                FIRST SET OF INTERROGATORIES
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